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           EXHIBIT 1
        DECLARATION OF FREDRIC W. PRICE


      United States of America v. State of Idaho et al.
              Case No. 1:22-cv-00236-DCN
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                                  Exhibit 1
               Federal Grazing Allotments Under IDWR Orders
               Relative To Movants’ Water Right Places of Use




                  Lewiston

                                                                         Legend
                                                 Fourth of                      Movants' Water Rights
                                                 July Creek                     FS Allotment
                             Butcher Bar
                                                                                BLM Allotments
                                                                                Cities
                      China Creek                                               State boundary
                                                 Salmon
                             McCall

                 Crane Creek

                     Paddock Valley



                           Boise                                                Idaho Falls


                      Joyce Livestock
L U Ranching
                                           Twin Falls


                                                      Pickett Ranch




      :                0      25   50      100            150         200
                                                                        Miles
